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                         EXHIBIT C
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                                                                                          Warner Bros. Discovery, Inc.
                                                                                   April 4, 2022 through September 23, 2022
                                                                                  Ohio Public Employees Retirement System



      ----------------------Purchases/Acquisitions-------------------            -------------------------------Sales-------------------------------
                                                                                                                                                                              (Loss) on
                                                                                                                                                                (Loss) on    Holdings @    Total
  Trade Date             Shares           Price                    Total     Trade Date             Shares            Price                            Total   Shares Held    $11.7900    (Loss)

I. Share Sales Matched Against Pre-Class Period Holdings

Open position                 -




Subtotal (I)                      0                                     $0                                   0                                            $0




II. Shares Purchased/Acquired and Sold Within Class Period (LIFO Basis)
                                          Formula: (sales price - purchase price) x shares sold

       04/11/22             43,489         $24.78              $1,077,657       04/13/22               161,768          $26.00                   $4,205,968
       04/11/22            161,768         $24.78              $4,008,611       04/19/22                 8,960          $23.94                     $214,463
       04/19/22              8,960         $23.68                $212,154       05/31/22                90,832          $18.45                   $1,675,850
       04/19/22             39,986         $23.68                $946,785       06/30/22                33,165          $13.42                     $445,074
       05/31/22              7,357         $18.45                $135,737
       06/24/22             30,095         $14.28                $429,757
       06/24/22              3,070         $14.28                 $43,840



Subtotal (II)            294,725                             $6,854,540                             294,725                                   $6,541,356                                     ($313,184)
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                                                                                           Warner Bros. Discovery, Inc.
                                                                                    April 4, 2022 through September 23, 2022
                                                                                   Ohio Public Employees Retirement System



      ----------------------Purchases/Acquisitions-------------------             -------------------------------Sales-------------------------------
                                                                                                                                                                                  (Loss) on
                                                                                                                                                                 (Loss) on       Holdings @         Total
  Trade Date             Shares           Price                    Total      Trade Date             Shares            Price                            Total   Shares Held       $11.7900         (Loss)



III. Shares Purchased/Acquired During Class Period and Sold After End of Class Period (LIFO Basis)
                                          Formula: (sales price - purchase price) x shares sold




Subtotal (III)                   0                                      $0                                    0                                            $0                                               $0




IV. Shares Purchased/Acquired During Class Period and Still Held (LIFO Basis)
                                         Formula: (Closing price on 9/23/22 - purchase price) x shares held

       04/11/22           1,171,323        $24.78             $29,025,384                                                                                            ($12.99)   ($15,215,485.77)
       06/24/22              26,178        $14.28                $373,822                                                                                             ($2.49)       ($65,183.22)
       08/31/22                   4        $13.24                       $53                                                                                           ($1.45)            ($5.80)
       09/16/22               9,238        $12.74                $117,692                                                                                             ($0.95)        ($8,776.10)
       09/16/22                  89        $12.74                  $1,134                                                                                             ($0.95)           ($84.55)


Subtotal (IV)          1,206,832         $24.46             $29,518,085                                                                                                         ($15,289,535.44)   ($15,289,535)

TOTAL (II - IV) Total Losses                                                                                                                                                                       ($15,602,720)
